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 8
                                UNITED STATES BANKRUPTCY COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                             SAN JOSE DIVISION
11

12                                                    )       Case No.: 23-50023-MEH
     In re:                                           )       Chapter 13
13                                                    )
                                                      )       DECLARATION OF DEBTOR IN
                                                      )       SUPORT OF MOTION TO APPROVE
14
     Y. ROGER YU,                                     )
                                                      )       CONFIDENTIAL SETTLEMENT
15
                              Debtor.                 )       AGREEMENT (RE: FOUR SECURED
16                                                    )       CLAIMS)
                                                      )
17                                                    )       Date: May 11, 2023
                                                      )       Time: 10:00 a.m.
18                                                    )       Place: U.S. Courthouse, 280 South 1st Street,
                                                      )
                                                      )       Courtroom 11, San Jose CA 95113**
19
                                                      )
20                                                    )       **Hearing to be conducted in person in the
                                                      )       courtroom but Counsel / interested parties
                                                      )
21
                                                      )       may appear by Zoom and instructions on
                                                      )       doing so are provided below
22
                                                      )
23                                                    )       Before: Hon. M. Elaine Hammond
                                                      )
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24                                                            Judge: Honorable M. Elaine Hammond
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     Declaration of Debtor in Support of Motion
     to Approve Confidential Settlement Agreement                               Case No. 20-50023 MEH
     Case: 23-50023        Doc# 69       Filed: 04/17/23       Entered: 04/17/23 13:41:24       Page 1 of 3
 1           TO THE HONORABLE JUDGE M. ELAINE HAMMOND, THE TRUSTEE’S
 2   OFFICE FOR THE NORTHERN DISTRICT OF CALIFORNIA, ALL PARTIES IN
 3   INTEREST, AND THEIR RESPECTIVE COUNSEL(S) OR RECORD:
 4

 5           I, ROGER YU, am the Debtor in the instant case. I have personal knowledge of the
 6   information contained herein and, if called upon to testify, could and would do competently. I
 7   declare as follows:
 8           1.      On January 11, 2023, I filed my bankruptcy petition under Chapter 13 of the
 9   Bankruptcy Code, in the Northern District of California, case number 23-50023-MEH.
10           2.      I am the Trustee of certain Trusts and the borrower on four (4) separate notes that
11   are secured by four (4) separate deeds of trust, against four (4) separate properties:
12                   A. 115 College Avenue, Mountain View, CA 94040 (“College Avenue
13   Property”);
14                   B. 1047 Cherry Street, San Carlos, CA 94070 (“Cherry Street Property”);
15                   C. 36500 Alder Court, Fremont, CA 94536 (“Alder Court Property”); and
16                   D. 37591 3rd Street, Fremont, CA, 94536 (“3rd Street Property”).
17           3.      The College Avenue Property, Cherry Street Property, Alder Court Property and
18   3rd Street Property are collectively referred to herein as “the Properties”.
19           4.      On February 2, 2023, Mr. Douglas Sykes (“Secured Creditor”) filed four (4)
20   separate motions for relief relating to the Properties (“MFRs”) requesting in rem relief pursuant
21   to 11 U.S.C. § 362(d)(4) at case docket #’s 19, 22, 27 and 30 (re: all four Properties).
22           5.       Also on February 2, 2023, I moved to convert said case to a Chapter 11 via
23   Motion filed at case docket # 38.
24           6.       On February 15, 2023, I opposed the Motion(s) for Relief (mainly for the College
25   Avenue Property only) and a hearing was held on February 16, 2023. At that time, the Court set
26   an evidentiary hearing / trial for March 15, 2023.
27           7.      We conducted some discovery and agreed to more time to hold the evidentiary
28   hearing / trial -- and a final hearing is scheduled to take place on May 9, 2023.
                                                       2
     Declaration of Debtor in Support of Motion
     to Approve Confidential Settlement Agreement                           Case No. 20-50023 MEH
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 1             8.     As of February 2023, my counsel(s) and creditor’s counsel have been working on
 2   a potential global settlement / release of all claims and in particular, something that would deal
 3   with these debts as well (to extinguish the Party’s relationships with one another).
 4             9.     A deal aka the Agreement was finally reached last week among all parties-
 5   including certain individuals in my family that have claims in the Properties that Secured
 6   Creditor has claims against.
 7             10.    A true and correct copy of the executed Agreement will be filed “under seal” for
 8   the Honorable Court’s review once the Court has granted this Motion to Approve Confidential
 9   Settlement Agreement. All parties have agreed to a confidential settlement and accordingly do
10   not wish the terms to be posted on the public case docket.
11             11.    I don't want to break the terms of the confidential agreement by accidentally filing
12   it on the case docket and so we're filing an application to seal it / trying to obtain an order sealing
13   the document before it goes up. This will ensure that this deal which was very hard to get will be
14   intact.
15             12.    I would like to thank the Court for all of the help to date and hope it will honor
16   my request to approve this confidential settlement agreement.
17             I declare under penalty of perjury that the information contained herein is true and
18   accurate.
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20   Dated: April 17, 2023
21
     /s/ Y. Roger Yu
22   Y. Roger Yu
     Debtor herein
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